         Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 1 of 13 PageID #:50


    FI/2L8E D              NF
      12  /2017
             . BRUTO    N
   THOMA.SDG
           IS T R IC T COURT
CLERK, U.S
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 2 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 3 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 4 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 5 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 6 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 7 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 8 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 9 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 10 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 11 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 12 of 13 PageID #:50
Case: 1:17-cv-07326 Document #: 9 Filed: 12/28/17 Page 13 of 13 PageID #:50
